           Case 1:05-cr-00047-DHB-BKE Document 235 Filed 09/19/06 Page 1 of 1


                             United States District Cou s.
                                  Southern District of Georgia ~ Da d
                                          Augusta Division
                                                                                           A 30
                                               *

UNITED STATES OF AMERIC A
                                                         CASE NUMBER CR105-4 7
vs .                                           *
                                               *
SEVERO SANC 14EZ DELATORRE
                                               *
                                               *


                             ORDER DESIGNATING INTERPRETE R



       The Court having determined, pursuant to Title 28 United States Code Section 1827, that an

interpreter is required and should be designated in the above-captioned case ,

       IT IS HEREBY ORDERED that         Laura Leon Hamm              , a certified interpreter o r

otherwise competent interpreter, is designated to serve as an interpreter in this case .

Compensation shall be paid by the government at a rate of $355 .00 per day, with a minimum of

one half day's compensation of $192.00 to be paid for each appearance . Any claim for overtime

shall be paid at the rate of $50 .00 per hour . Claim for compensation by the interpreter for any in-

court services or assisting the U .S . Probation Office shall be made on Form A0322 . Claim for

compensation for assisting court-appointed counsel shall be made on CJA Form 21, Authorization

and Voucher for Expert and Other Services . Any services relating to the CJA Form 21 must be

approved by the Court prior to the services rendered . These forms shall be furnished by th e

Clerk of Court .

       SO ORDERED , this            day of                          200 6




                                             JUDGE, UNITED S ATES DISTRICT COURT
                                             SOUTHERN DIST RICT OF GEORGI A
